Case 8:20-cv-01078-JLS-DFM Document 13 Filed 09/18/20 Page1of1 Page ID #:46

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA JS-6

CIVIL MINUTES — GENERAL

 

 

 

Case No. SACV 20-01078-JLS (DFMx) Date September 18, 2020
Title Kenneth Davidson v. Issam Z Ghreiwati et al
PRESENT:

HONORABLE JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

Melissa Kunig Not Reported
Deputy Clerk Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFF: ATTORNEYS PRESENT FOR DEFENDANT:
None Present None Present

PROCEEDINGS: (IN CHAMBERS) ORDER DISMISSING ACTION FOR LACK OF
PROSECUTION FOR FAILURE TO COMPLY WITH THE COURT’S
ORDER

This action was filed on June 16, 2020. On September 15, 2020, the Court issued a
minute order which ordered Plaintiff to show cause in writing on or before September 16, 2020
why this action should not be dismissed for lack of prosecution [10]. Plaintiff has failed to
adequately respond to the Court's Order. Therefore, the Court ORDERS that this action is
dismissed without prejudice for lack of prosecution and for failure to adequately comply with
the Orders of the Court.

The Court’s Order to Show Cause is hereby DISCHARGED.

 

Initials of Deputy Clerk mku

 

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 1 of 1
